      Case 8-20-08140-reg       Doc 25     Filed 07/26/22    Entered 07/26/22 17:31:46




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                                         July 26, 2022



VIA E-FILE
Hon. Robert E. Grossman
United States Bankruptcy Court
for the Eastern District of New York
Alfonse M. D’Amato Federal Courthouse
290 Federal Plaza
Central Islip, New York 11722


        Re:   Ryniker v. Valdese Weavers, LLC, Adv. Pro. No. 20-08140:
              Request for Adjournment

Dear Judge Grossman:

        Olshan Frome Wolosky LLP represents the Defendant in the above referenced adversary
proceeding. As communicated yesterday with chambers, and on consent from counsel to
Plaintiff, we respectfully request adjournment of the trial scheduled to begin July 28, 2022 for
the reason stated in those communications. We understand that the Court has scheduled
September 13 & 15, 2022 for trial and that the Plaintiff has an open request concerning
September 15.Thank you for your consideration.

                                                    Respectfully submitted,

                                                    /s/ Michael Fox

                                                    Michael S. Fox




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